                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 ALVA ADVANCE LLC,                                  )
                                                    )
         Petitioner,                                )
                                                    )
                        v.                          )      Civil Action No. 1:23-cv-10189-AK
                                                    )
                                                    )
 WILLIAM H III ALTIERI                              )
      Respondent,                                   )
                                                    )


                             MOTION FOR ENTRY OF DEFAULT
       Petitioner Alva Advance, LLC requests that the clerk of the court enter default (proposed

order attached) against Respondent William H II Altieri (a.k.a. William H Altieri, III) pursuant to

Fed. R. Civ. P. 55(a). In support of this request, Petitioner relies upon the record in this case and

the affidavit submitted therein.



Dated this 3rd day of March, 2023


                                                               Respectfully submitted,
                                                               ALVA ADVANCE, LLC.

                                                               By its Attorneys,

                                                               /s/ Matthew S. Szafranski
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